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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


 IN RE:                                         : CHAPTER 13
 DORA DENISE BROWN                              : CASE NUMBER A18-57501-JWC
       DEBTOR                                   :

                     TRUSTEE’S SUPPLEMENTAL REPORT
                    FOLLOWING CONFIRMATION HEARING

       Nancy J. Whaley, Standing Chapter 13 Trustee to report back in ten (10)
       days following the Confirmation Hearing held on August 14, 2018:

       As to whether Debtor provided proof of income

       The Attorney for the Trustee has reviewed the case as instructed and:

       The Trustee withdraws her Objections to Confirmation

       Please enter an Order of Confirmation.

       This the 10th day of September, 2018.


                             ___/s/_________________________
                             Julie M. Anania,
                             Attorney for Chapter 13 Trustee
                             GA Bar Number 477064
                             303 Peachtree Center Ave., NE
                             Suite 120
                             Atlanta, GA 30303
 /ds                         (678) 992-1201
  Case 18-57501-jwc        Doc 28   Filed 09/10/18 Entered 09/10/18 15:34:46              Desc
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                                 CERTIFICATE OF SERVICE
Case No: A18-57501-JWC

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Supplemental Report Following Confirmation Hearing by depositing in the United
States mail a copy of same in a properly addressed envelope with adequate postage thereon.

Debtor(s):
DORA DENISE BROWN
PO BOX 1245
CLARKSTON, GA 30021




By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Supplemental Report Following Confirmation Hearing through the
Court's Electronic Case Filing system.

Attorney for the Debtor(s):
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 10th day of September, 2018.


/s/____________________________________
  Julie M. Anania
  Attorney for the Chapter 13 Trustee
  State Bar No. 477064
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
